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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
Vv. Criminal No. 21-0382 (PLF)
CHRISTOPHER WARNAGIRIS,
Defendant.
)
SCHEDULING ORDER

On December 21, 2023, the Court vacated the trial and pretrial conference dates
previously set forth. The Court directed the parties to submit a joint status report indicating their
availability for a bench trial later this year, which the parties submitted on January 16, 2024. See
Joint Status Report [Dkt. No. 109]. In view of the parties’ representations in the Joint Status
Report [Dkt. No. 109], it is hereby

ORDERED that time shall be excluded under the Speedy Trial Act until April 1,
2024; it is

FURTHER ORDERED that the parties shall file any written submissions
addressing outstanding legal issues on or before March 11, 2024; and it is

FURTHER ORDERED that the remaining pretrial proceedings will be governed

by the following schedule:
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Date Description
March 25, 2024, at The final pretrial conference will take place via
10:00 a.m. Zoom video teleconference.

April 1, 2024, at 10:00 | A bench trial will commence in Courtroom 29
a.m. with opening statements and will continue each
weekday at 10:00 a.m. until concluded.

SO ORDERED.

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PAUL L. FRIEDMAN
United States District Judge

DATE: | r(24
